 Case 17-43213       Doc 12    Filed 11/21/17 Entered 11/21/17 14:52:25              Desc Main
                                 Document     Page 1 of 1




                                               Certificate Number: 03088-MN-CC-030072669


                                                             03088-MN-CC-030072669




                    CERTIFICATE OF COUNSELING

I CERTIFY that on October 24, 2017, at 5:30 o'clock PM CDT, Donald A Driggs
received from Debt Education and Certification Foundation, an agency approved
pursuant to 11 U.S.C. § 111 to provide credit counseling in the District of
Minnesota, an individual [or group] briefing that complied with the provisions of
11 U.S.C. §§ 109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by telephone.




Date:   October 24, 2017                       By:      /s/Morgan L Quintana


                                               Name: Morgan L Quintana


                                               Title:   Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
